Case o-24-OoU0/1-aSt DOC lo-y Fined lifly/24 centered t1/ly/24 LUiogio6

EXHIBIT “1”
Case o-24-OoU0/1-aSt DOC lo-y Fined lifly/24 centered t1/ly/24 LUiogio6

ULM cem SLL h ec Tos

Debtor 1 BLUE DIAMOND AIR SYSTEMS, INC,

Debtor 2
(Spouse, Ii fillng)

United States Bankruptcy Court forthe: EASTERN District of NEW YORK

Case number _8-22-72698-AST

Official Form 410
Proof of Claim 04/22

Read the instructions before filling out this form. This form is for making a claim for payment In a bankruptcy case. Do not use this form to
make @ request for payment of an administrative expense, Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents, Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, involces, Itemized stataments of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment. .

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 6 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

Identify the Claim

1. where 6 current Department of Treasury - Internal Revenue Service

Name of the current creditor (the person or aniity to be paid for this claim)

Other names the creditor used with the debtor

2. Has this claim been [<]Ne
acquired from

someone else? | |¥es. From wham?
3. Where should notices Where should notices to the creditor be sent? Where should payments to the creditor be sent? (if

and payments to the different)

creditor be sent? .
Internal Revenue Service Internal Revenue Service

Federal Rule of Name Name

Bankruptey Procedure

(FRBP} 2002(9) P.O. Box 7346 P.O, Bax 7317
Number Street Number Street
Philadelphia PA 19101-7346 Philadelphia PA 19401-7317
City State ZIP Coda Cily State ZIP Code
Contact phone _ 1-800-973-0424 Contact phone _ 1-800-973-0424
Contact amait Contact emall

Creditor Number: 10146810

Uniform claim Identifier for electronic payments in chapter 13 (if you use one}:

4. Does this claim amend [No

ane already filed? [x] Yes. Claim number on court claims registry (if known) _ 9 Filed on 1042022 aw
D

5. Do you know if anyone [x]No

else has filed a proof Yes. Who made the earlier filing?
of clalm for this claim? L] 9

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eo Give Information About the Claim as of the Date the Case Was Filed

you use to Identify the
debtor?

6. Do you have any number | _|No
[x }Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor, See Attachment

7. How much fs the claim?

2,445,212.34 | Does this amount Include Interest or other charges?

| No

|X |Yes. Attach statement ltemlzing interest, fees, expenses, or other
charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the
claim?

Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
Attach redacted coples of any documents supporting the claim required by Bankruptcy Rule 3004(c).

Limit disclosing information that is entitled to privacy, such as health care information.

9. Is all or part of the claim
secured?

[_ ]ves. The claim is secured by a lien on property.

Nature of property:

| |Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
Attachment (Official Form 410-A) with this Proof of Claim.

Motor vehicle
Other. Describe:

Basis for perfection:

Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
been filed or recorded.)

Value of property:

Amount of the claim that ls secured: = $

Amount of the claim that Is unsecured: $ {The sum of the secured and unsecured
amounts should match the amount in line 7.)

Amount necessary to cure any default as of the date of the petition:  §

Annual interest Rate (when case was filed) %

Fixed
Varlable

10, Is this claim based ona
lease?

[_ ]ves. Amount necessary to cure any default as of the date of the petition. $

right of satoff?

14. Is this claim subject to a

[X|Yes. Identity the property: See Attachment

Official Form 410

Proof of Claim page 2

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12. Is all or part of the claim | _|Ne

ntitled to priority under
“ USC. toriay? [x]Ves. Check one: Amount entitled to priority
A claim may be parily [__ [Domestic support obligations {including alimony and child support) under
priority and partly 11 U.S.C, § S07(a}(1)(A) or (a)(1}(B). $
nonpricrity, For example,
in some categories, the [ue to $3,350* of deposits toward purchase, lease, or rental of property or services for

law limits the amount personal, family, or househald use. 11 U.S.C. § 507% (a)(7}.

entitled to priority.

Wages, salaries, or commissions (up to $15,150*) earned within 190 days before the
bankruptcy petition Is filed or the debtor's business ends, whichever is earlier.
11 U.S.C. § 507(aj(4).

[x [Faxes or penallles owed to governmental units. 11 U.S.C. § 507(a}(8). $ 2,159,148.50
{ _|Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5}. $
[_ lother. Specify subsection of 11 U.S.C. § 507(a)(_) that applies. $

* Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases bagun on or after the date of adjustment.

Ee Sign Below

The person completing Chack the appropriate box:

this proof of claim must

sign and date it. [x] lam the creditor.

FRBP 9011(b). [| | am the creditor's attorney or authorized agent.

If you file this claim [| | am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.

electronically, FRBP
§005(a){2) authorizes courts [| | am a guarantor, surety, endorser, or other codebter. Bankruptcy Rule 3005.
to establish focal rules

specifying what a signature | understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the

amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
A person who files a
fraudulent claim could be = | have examined the information in this Proof of Claim and have a reasonable belief that the information is true
fined up to $500,000, and correct.
Imprisoned for up to 5
VOUS. Se 182, 157, and I declare under penalty of perjury that the foregoing is true and correct.

3571,
Executed on date 05/26/2023
MMi OD f YYYY

‘sf JULIA A SWEENEY

Signature

Print the name of the person who is completing and signing this claim:

Name JULIA A SWEENEY
First name Middla name Last name
Title Bankruptcy Specialist
Company Internal Revenue Service
Identify the corporate servicer as the company If the authorized agent Is a servicer.
Address 15 New Sudbury St., M/S 20800
Number Street
Boston MA 02203
Cliy Stale ZIP Code
Contact phone (817) 316-2262 Emall Julia.sweeney@irs.gov

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Form 410

Attachment

Proof of Claim for
Internal Revenue Taxes

Department of the Treasury/Internal Revenue Service

Case Number
8-22-72698-AST

Type of Bankruptcy Case

1165 STATION ROAD CHAPTER 7A
MEDFORD, NY 11763

Date of Petition

10/04/2022
Amendment No. 1 to Proof of Claim dated 11/04/2022

The United States has the right of setoff or counterclaim(s) In the amount of 715,086.22. The identification of the right of setoff in the
amount is based on available data and is not intended to waive or limit the right to setoff against this claim debts owed to this deblor by this
or any other federal agency that have not been identified. All rights of setoff are preserved and will be asserted to the extent lawful.

IRS reserves the right to Amend the claim upon a thorough examination
of the tax returns.

Unsecured Priority Claims under section 507(a)(8) of the Bankruptcy Code

Taxpayer iD

Number Kind of Tax Tax Period Daie Tax Assessed Tax Due interest to Petition Date

XX-XXX1264 REQRD PYMT 12/97/2019 o4/05/2021 $16,150.00 $1,336.36

XX-XXX 1264 CORP-ING 09/30/2021 4 D-ESTIMATED-SEE NOTE $2,500.00 $74.58

XX-XXX 1264 FUTA 12/31/2021 2 1-ESTIMATED-SEE NOTE $6,500.00 $185.11

XX-XXX1264 WT-FICA 03/31/2022 08/23/2022 $662,175.30 $15,739.95

XX-XXX1264 WT-FICA 08/30/2022 3 G-ESTIMATED-SEE NOTE $708,780.34 $0.00

XX-XXX1 264 WT-FICA 0930/2022 04/03/2023 $740,359.20 $0.00
10/01/2022 ~

XX-XXX1264 WT-FICA 10/04/2022 03/20/2023 $566.54 $0.00
01/04/2022 ~

XX-XXX1 284 FUTA 40/04/2022 2 1-ESTIMATED-SEE NOTE $4,781.12 $0.00

$2,141,812.50 $17,336.00

Total Amount of Unsecured Priority Claims:

Unsecured General Clalms

Penalty to date of petition on Unsecured priority claims (including interest thareon)..... . $286,063.84

Total Amount of Unsecured General Claims:

41 LIABILITY 1S ESTIMATED BASED ON AVAILABLE INFORMATION BECAUSE THE RETURN HAS NOT BEEN FILED. THIS CLAIM MAY BE AMENDED AS
NECESSARY AFTER THE DEBTOR FILES THE RETURN OR PROVIDES OTHER REQUIRED INFORMATION.

2 LIABILITY IS ESTIMATED BASED ON AVAILABLE INFORMATION BECAUSE THE RETURN HAS NOT BEEN FILED. THIS CLAIM MAY BE AMENDED AS
NECESSARY AFTER THE DEBTOR FILES THE RETURN OR PROVIDES OTHER REQUIRED INFORMATION.

3 ESTIMATED UNASSESSED TAX LIABILITY PENDING DETERMINATION. IRC 6020/8).
